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                    UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON


CONCERNED FRIENDS OF THE
WINEMA, KLAMATH SISKIYOU                             Case No. 1:14-cv-00737-CL
WILDLANDS CENTER, WESTERN
WATERSHEDS PROJECT,                          DEFENDANTS’ NOTICE OF
OREGON WILD and CENTER FOR                   DEMONSTRATION OF
BIOLOGICAL DIVERSITY,                        COMPLIANCE WITH COURT’S
                                             INJUNCTION OR, IN THE
            Plaintiffs,                      ALTERNATIVE, MOTION TO
                                             DISSOLVE INJUNCTION
      v.
                                             Expedited Consideration/Ruling
UNITED STATES FOREST                         Requested
SERVICE, a federal agency, and U.S.
FISH & WILDLIFE SERVICE, a
federal agency,

            Defendants.

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IVERSON MANAGEMENT LIMITED
PARTNERSHIP,

            Defendant-Intervenor.
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   I.      NOTICE/MOTION

        Defendants file this notice to advise that the U.S. Forest Service has

made the necessary demonstration with regard to this Court’s January 2017

injunction (ECF 105, Report and Recommendation at 30-31; ECF 115 at 3-4

(adopting recommendation), such that the injunction is no longer in effect for

livestock grazing on Chemult Pasture. In the alternative, should this Court

deem an affirmative request necessary, Defendants request that this Court

dissolve the January 2017 injunction on the basis of changed circumstances

including the Forest Service’s demonstration of compliance. In accordance

with LR 7-1, undersigned counsel contacted Plaintiffs’ counsel, who advised

that Plaintiffs oppose this notice/motion. Undersigned counsel also contacted

Defendant-Intervenor, who is proceeding pro se at this juncture, and

Defendant-Intervenor supports this notice/motion.

        There is good cause for this Court to issue an order indicating its

concurrence with Defendants’ principal position that the January 2017

injunction is longer in effect because the Forest Service has made the very

demonstration to which the duration of the injunction is tied. Alternatively,

there is good cause for this Court to dissolve the injunction based on a review

of the Forest Service’s demonstration under an appropriately deferential

standard, given the changed circumstances explained below.


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         Defendants respectfully request that this Court give their notice/motion

expedited consideration. Grazing is now set to commence on Chemult

Pasture at the beginning of July 2018. Therefore, Defendants request an

order confirming the injunction is no longer in effect, or is dissolved,

by June 25, 2018.

   II.      MEMORANDUM

                           FACTUAL BACKGROUND

         In this action, among other claims, Plaintiffs brought a National Forest

Management Act (“NFMA”) claim against the Forest Service’s Annual

Operating Instructions (“AOIs”) for Chemult Pasture grazing for the years

2012, 2013, 2014, and 2015. ECF 105, Report and Recommendation at 13.

The AOIs did not go through public National Environmental Policy Act

(“NEPA”) review and were completed under a 1995 Allotment Management

Plan (“AMP”). Id. at 3.

         This Court found that the Forest Service violated NFMA, because the

AOIs violated the “viability directive” from the relevant Forest Plan. Id. at

14, 18-19. According to this Court, the Forest Service provided “no rational

support for its failure to accurately measure ‘current grazing,’”, including

“cattle trespass, additional unauthorized grazing, and changed conditions in

the relevant areas.” Id.at 18. This Court therefore recommended an NFMA


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injunction, adopted by Judge Aiken on January 18, 2017. The injunction

barred the Forest Service from “issuing future AOIs permitting grazing in the

Chemult Pasture unless and until those AOIs accurately reflect the actual

levels of grazing in the pasture – including cattle trespass, overgrazing – and

also accurately reflect the impacts of that level of grazing on the sensitive

species in the relevant areas.” Id. at 30-31 (recommendation); ECF 115 at 3-4

(adopting recommendation). This Court’s NFMA injunction also required

that the Forest Service “demonstrate that grazing does not violate its

requirements under the relevant AMP and the Forest Plan to maintain the

viability of sensitive species populations in range.” Report and

Recommendation at 31; ECF 115 at 3-4 (adopting recommendation).

      In light of this Court’s injunction, the Forest Service did not authorize

any grazing in 2017 on Chemult Pasture.

      Meanwhile, the agency proceeded with a NEPA process over proposed

revisions to the 1995 AMP. See ECF 105, Report and Recommendation at 7

(noting ongoing NEPA process, including issuance of a Draft Environmental

Impact Statement). In October 2017, the Forest Service completed a

Biological Evaluation and Specialist Report for botanical resources that




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addressed the effects of status quo grazing and the proposed revisions on

sensitive species in Chemult Pasture. Exhibit A. 1

        Based in part on this Biological Evaluation, the Forest Service in

November 2017 issued a 296-page Final Environmental Impact Statement

(“FEIS”) that analyzed various alternatives for revising the 1995 AMP.

Exhibit B. The FEIS took account of the effects of the actual, status quo

grazing in place prior to the completion of the NEPA process. Id. at 43. This

looked to a study of unauthorized grazing use over the prior 10 years. Id.

The FEIS took this data into account in assessing the effects of status quo

grazing on the federally-listed Oregon spotted frog. Id. at 175. The FEIS

made a specific finding that the proposed revisions would not negatively

impact the specie’s viability. Id. at 177. The FEIS also assessed the effects of

all the grazing alternatives on the various sensitive species. Id. at 119-155.

It made specific findings that the proposed revisions would not impact these

species’ viability. See id & id. at 8.

        On May 21, 2018, the U.S. Fish and Wildlife Service issued a Biological

Opinion regarding the effects of the proposed AMP revisions on Oregon


1   This document, and many other key AMP-revision documents including the
     Final Environmental Impact Statement (“FEIS”), has been available to
     the public on the Forest Service’s website at
     https://www.fs.usda.gov/project/?project=43246.


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spotted frogs and their designated critical habitat. ECF 133 (notice of

issuance of Biological Opinion).

      On May 25, 2018, Paisley and Silver Lake District Ranger Douglas C.

McKay signed a final Record of Decision (“ROD”) adopting a revised

framework for the AMP after careful review of public comments, the FEIS,

and other materials. ECF 135 (notice of issuance of ROD); Exhibit C at 2

(ROD). The ROD made specific viability demonstrations for the new AMP

framework regarding both Oregon spotted frogs and sensitive species. Id. at

4-5 (ROD). See also id. at 10-11, 15 (discussion in ROD of grazing in frog

habitat), id. at 12, 14 (discussion of viability of sensitive species).

      On May 31, 2018, the Forest Service issued the new AMP, new grazing

permits, and a bill to the permittee. Exhibits D (AMP), E (permits), F (bill).

Grazing is now set to resume in Chemult Pasture on July 1, 2018. See

Exhibit C at 20, Exhibit D at 3.

                                   ARGUMENT

      The Forest Service has demonstrated compliance with this Court’s

NFMA injunction. In reaching its new AMP, the agency has considered

public input, completed a thorough review, and adopted significant grazing

revisions to a large area including Chemult Pasture. The Forest Service has

addressed the NFMA injunction issues identified by this Court, and made the


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necessary demonstrations that the revisions do not impair species viability

under NFMA. Therefore, the Forest Service has made the demonstration

that is the precondition to the termination of the January 2017 injunction.

      In the alternative, this Court should dissolve the January 2017

injunction, given the significant change in facts presented by the FEIS, ROD,

and new AMP. This Court may dissolve an injunction if “applying it

prospectively is no longer equitable.” Fed. R. Civ. P. 60(b)(5). “A party

seeking modification or dissolution of an injunction bears the burden of

establishing that a significant change in facts or law warrants revision or

dissolution of the injunction.” Sharp v. Weston, 233 F.3d 1166, 1170 (9th Cir.

2000). It is an abuse of discretion if, after the moving party carries this

burden, a court “refuses to modify an injunction . . . in light of such changes.”

Horne v. Flores, 557 U.S. 433, 447 (2009) (internal quotation omitted).

      Here, significant factual changes warrant dissolution of the injunction.

This Court’s January 2017 injunction was issued when the Forest Service

was issuing AOIs under the prior (1995) AMP without any newer public

NEPA review. But grazing in Chemult Pasture is now subject to a new AMP

that marks the culmination of a lengthy and thorough NEPA environmental-

review process that featured detailed consideration of the effects of various

revisions to species viability and the effects of actual, status quo grazing on


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species. Further, the Forest Service has made the findings and

demonstrations indicated by this Court’s earlier injunction. For example, the

ROD explained how the AMP revisions are consistent with the Forest Plan

viability requirements, for both Oregon spotted frog and sensitive species.

Exhibit C at 4-5. Further, the ROD addressed head-on the issue of grazing in

frog and sensitive species habitat and explained the agency’s rationale. Id. at

10-11, 12, 14, 15.

      These demonstrations of NFMA compliance are entitled to deference

here. Whether the injunction should be dissolved depends on if the Forest

Service’s findings regarding species viability are arbitrary and capricious.

See Alliance for the Wild Rockies v. Bradford, 864 F. Supp. 2d 1011, 1018 (D.

Mont. 2012) (dissolving injunction against the Forest Service). An agency

decision is arbitrary and capricious “only if the agency relied on factors

Congress did not intend it to consider, entirely failed to consider an

important aspect of the problem, or offered an explanation that runs counter

to the evidence before the agency or is so implausible that it could not be

ascribed to a difference in view or the product of agency expertise.” Lands

Council v. McNair, 537 F.3d 981, 987 (9th Cir. 2008) (en banc) (internal

quotation omitted). Here, the Forest Service’s NFMA demonstrations are

neither arbitrary nor capricious, as they are based on specific field reviews


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and other agency analysis, outside studies, and specific aspects of the revised

AMP’s grazing system design including its utilization and habitat

protections.

      The January 2017 injunction is now outmoded. That injunction, by its

terms, envisioned and applied to future grazing authorizations via non-NEPA

AOIs. ECF 105, Report and Recommendation at 30-31. In fashioning that

injunction, this Court expressed its concern over the Forest Service’s

incomplete NEPA process over revising the AMP. Id. at 12. But now, the

circumstances have changed significantly, as the Forest Service is no longer

authorizing grazing under AOIs, but under a brand-new AMP and brand-new

permits after completion of an extensive NEPA review process that analyzed

various alternative courses of action.

      In reaching its January 2017 injunction, this Court did “not recommend

issuing an injunction closing the Chemult Pasture to grazing altogether.”

ECF 105, Report and Recommendation at 30. Therefore, keeping the AOIs-

targeted injunction in place would amount to an overbroad injunction closing

Chemult Pasture to grazing against this Court’s own recommendation.

      Continuing the former NFMA injunction against implementation of the

new AMP would be inappropriate, because it would effectively invalidate a

new, comprehensive grazing framework that is the result of its own NEPA


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process. Continuing the injunction would incorrectly flip the presumptive

validity of the new FEIS and new ROD. Courts recognize that an agency’s

environmental decision process “is accorded a presumption of regularity.”

Akiak Native Community v. U.S. Postal Service, 213 F.3d 1140, 1146 (9th Cir.

2000).

      If Plaintiffs choose to challenge the Forest Service’s ROD underlying

the new AMP, they may simply file a new action and move for appropriate

relief. Judicial review would be based on the agency’s new administrative

record. But this action has already been terminated and attorney fees have

already been settled and paid. ECF 129-30. At this juncture, this action is

no longer the appropriate vehicle to litigate Plaintiffs’ concerns over the new

grazing system and the new AMP.

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                               CONCLUSION

      For these reasons, this Court should issue an order indicating that the

January 2017 injunction is longer in effect, or an order dissolving the

injunction based on the Forest Service’s NFMA viability demonstration under

an appropriately deferential standard, given the changed circumstances

explained above.

      DATED this 31st day of May, 2018.


                                           Respectfully submitted,

                                           BILLY J. WILLIAMS
                                           United States Attorney
                                           District of Oregon


                                           /s/ Sean E. Martin
                                           SEAN E. MARTIN
                                           Assistant United States Attorney




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